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        1       Highlighted excerpts of:
                U.S. Dep’t of Educ., Office of the General Counsel, Memorandum re: Bostock v.
                Clatyon County (Jan. 8, 2021), available at
                https://www2.ed.gov/about/offices/list/ocr/correspondence/other/ogc-
                memorandum-01082021.pdf (cited at 89 Fed. Reg. at 33,806)


        2       Highlighted excerpts of:
                U.S. Dep’t of Educ., Office for Civil Rights, Dear Colleague Letter (June 22, 2007),
                available at https://www2.ed.gov/about/offices/list/ocr/letters/colleague-
                20070622.html


        3       Highlighted excerpts of:
                U.S. Dep’t of Educ., Office for Civil Rights, Revised Sexual Harassment Guidance:
                Harassment of Students by School Employees, Other Students, Third Parties (Jan.
                2001), available at https://www2.ed.gov/about/offices/list/ocr/docs/shguide.pdf
                (cited at 89 Fed. Reg. at 33,493)


        4       Highlighted excerpts of:
                U.S. Equal Emp. Opportunity Comm’n, Sexual Orientation and Gender Identity (SOGI)
                Discrimination, (last accessed May 1, 2024), https://www.eeoc.gov/sexual-
                orientation-and-gender-identity-sogi-discrimination (cited at 89 Fed. Reg. at 33,516)


        5       Highlighted excerpts of:
                Brief for United States as Amicus Curiae, B.P.J. v. W. Va. State Bd. of Educ., No. 23-
                1078, ECF No. 68-1 (4th Cir. Apr. 3, 2023), available at
                https://www.justice.gov/crt/case-document/file/1577891/dl


        6       Highlighted excerpts of:
                E. Coleman, et al., Standards of Care for the Health of Transgender and Gender Diverse
                People, Version 8, 23 Int’l J. of Transgender Health S1 (Sept. 15, 2022), available at
                https://www.tandfonline.com/doi/pdf/10.1080/26895269.2022.2100644 (cited at
                89 Fed. Reg. at 33,819)




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        7       Understanding Neopronouns: A Guide to Neopronouns, Human Rights Campaign (last
                updated May 18, 2022), https://www.hrc.org/resources/understanding-
                neopronouns


        8       The Cass Review damns England’s youth-gender services, Economist (Apr. 10, 2021),
                https://www.economist.com/britain/2024/04/10/the-cass-review-damns-
                englands-youth-gender-services


        9       H. Barnes, Why disturbing leaks from US gender group WPATH ring alarm bells in the
                NHS, Guardian (Mar. 9,2024),
                https://www.theguardian.com/commentisfree/2024/mar/09/disturbing-leaks-
                from-us-gender-group-wpath-ring-alarm-bells-in-nhs


        10      Matt Bonesteel, Sixteen Penn swimmers say transgender teammate Lia Thomas should not be
                allowed to compete, Washington Post (Feb. 3, 2022),
                https://www.washingtonpost.com/sports/2022/02/03/lia-thomas-penn-
                swimming-teammates/


        11      J. Liaukonyte, et al., Lessons from the Bud Light Boycott, One Year Later, Harvard Bus.
                Rev. (Mar. 20, 2024), https://hbr.org/2024/03/lessons-from-the-bud-light-
                boycott-one-year-later


        12      Excerpts from:
                U.S. Dep’t of Educ., Funds for State Formula-Allocated and Selected Student Aid Programs,
                by State, (accessed May 9, 2024) available at
                https://www2.ed.gov/about/overview/budget/statetables/index.html


        13      Excerpted information showing federal revenue for Plaintiff School Boards’ school
                districts from:
                National Center for Education Statistics, Search for Public School Districts,
                https://nces.ed.gov/ccd/districtsearch/index.asp


        14      Declaration of Brad Soileau, Superintendent of Allen Parish School Board



        15      Declaration of Nicki McCann, Superintendent of Caldwell Parish School Board




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        16      Declaration of John Gullatt, Superintendent of Franklin Parish School Board



        17      Declaration of Mason Briggs, Board President of Grant Parish School Board



        18      Declaration of John G. Hall, Superintendent of Jefferson Davis Parish School
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        19      Declaration of Jonathan Garrett, Superintendent of LaSalle Parish School Board



        20      Declaration of Todd Guice, Superintendent of Ouachita Parish School Board



        21      Declaration of Shane Wright, Superintendent of Sabine Parish School Board



        22      Declaration of Frank Jabbia, Superintendent of St. Tammany Parish School Board



        23      Declaration of Laura Perkins, President of the West Carroll Parish School Board



        24      N. Minock, All-gender, single stalls for Loudoun Co. school bathrooms could cost hundreds of
                millions (Apr. 26, 2023), https://wjla.com/news/crisis-in-the-classrooms/loudoun-
                county-virginia-all-gender-single-bathroom-stalls-cost-hundreds-of-millions-dollars-
                vote-budget-school-board-education-opposite-sex-lgbtq-non-binary-lcps-students


        25      U.S. Dep’t of Educ., A Timing Update on Title IX Rulemaking (May 26, 2023),
                https://blog.ed.gov/2023/05/a-timing-update-on-title-ix-rulemaking/




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        26      Comment from Tenn. Attorney General, et al., Docket No. ED-2021-OCR-0166
                (Sept. 12, 2022), available at https://www.regulations.gov/comment/ED-2021-
                OCR-0166-218129


        27      Highlighted excerpts of:
                Exhibits attached to Comment from Tenn. Attorney General, et al., Docket No.
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                https://www.regulations.gov/comment/ED-2021-OCR-0166-218129


        28      Excerpts of:
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                (Sept. 12, 2022), available at https://www.regulations.gov/comment/ED-2021-
                OCR-0166-234607


        29      Excerpts of:
                Comment from Alliance Defending Freedom re: Freedom of Speech and Free
                Exercise, Docket No. ED-2021-OCR-0166 (Sept. 11, 2022), available at
                https://www.regulations.gov/comment/ED-2021-OCR-0166-200280


        30      Excerpts of:
                Comment from Alliance Defending Freedom re: Harm to Parental Rights, Docket
                No. ED-2021-OCR-0166 (Sept. 11, 2022), available at
                https://www.regulations.gov/comment/ED-2021-OCR-0166-200280


        31      Declaration of Preston Cade Brumley, Louisiana State Superintendent of Education



        32      Declaration of Debbie Critchfield, Superintendent of Public Instruction for the
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        33      Declaration of Matt Freeman, Executive Director for the Idaho State Board of
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        35      Resolution of Winn Parish School Board



        36      Highlighted excerpts of:
                Comment from Genspect & Exhibit, Docket No. ED-2021-OCR-0166 (Sept. 11,
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                228154


        37      Highlighted excerpts of:
                Comment from Gender Exploratory Therapy Association, Docket No. ED-2021-
                OCR-0166 (Sept. 10, 2022), available at
                https://www.regulations.gov/comment/ED-2021-OCR-0166-195294


        38      Highlighted excerpts of:
                Comment from Ethics and Public Policy Center, Docket No. ED-2021-OCR-0166
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        39      Excerpts of:
                Comment from Defense of Freedom Institute for Policy Studies, Docket No. ED-
                2021-OCR-0166 (Sept. 11, 2022), available at
                https://www.regulations.gov/comment/ED-2021-OCR-0166-229040


        40      Excepts of:
                Brief of Amici Curiae Drs. Miriam Grossman, Paul Hruz, Michael Laidlaw, Quentin
                Van Meter, Andre Van Mol in Support of Petitioner, Doe v. Boyertown Area Sch. Dist.,
                No. 18-658 (Dec. 19, 2018), available at
                https://www.supremecourt.gov/DocketPDF/18/18-
                658/76790/20181219123208440_18-
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